UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------         x
                                       :
 UNITED STATES OF AMERICA              :
                                       :
               - v. -                  :   S1 17 Cr. 357 (LAK)
                                       :
 DAVID BLASZCZAK,                      :
 THEODORE HUBER,                       :
 ROBERT OLAN and                       :
 CHRISTOPHER WORRALL,                  :
                                       :
               Defendants.             :
                                       :
----------------------------- -        x




                           GOVERNMENT’S OPPOSITION TO
                          DEFENDANTS’ IN LIMINE MOTIONS




                                           ROBERT KHUZAMI
                                           Acting United States Attorney for the
                                           Southern District of New York



Ian McGinley
Joshua A. Naftalis
Brooke E. Cucinella
Assistant United States Attorneys
    - Of Counsel-
                                                      TABLE OF CONTENTS


POINT I: THE COURT SHOULD DENY BLASZCAK’S SEVERANCE MOTION ..................1

   A.        Background ......................................................................................................................... 1

   B.        Applicable Law ................................................................................................................... 2

   C.        Discussion ........................................................................................................................... 5

        1.      Worrall’s Statements Will Be Properly Redacted .......................................................... 5

        2.      Blaszczak Does Not Need Additional Time to Prepare for Trial ................................... 9

POINT II: WORRALL’S MOTION REGARDING HIS STATEMENTS AT PROFFERS IS
    PREMATURE .......................................................................................................................11

POINT III: OLAN’S MOTION TO BAR THE GOVERNMENT FROM PROPERLY
    ASSERTING THE STOCK MARKET SHOULD BE “A LEVEL PLAYING FIELD”
    SHOULD BE DENIED .........................................................................................................12

CONCLUSION ..............................................................................................................................14




                                                                          i
                                             TABLE OF AUTHORITIES

Cases

Bailey v. United States, 516 U.S. 137 S.Ct. 501, 133 L.Ed.2d 472 (1995) .................................... 5

Bourjaily v. United States, 483 U.S. 171 (1987) .......................................................................... 12

Dirks v. SEC, 463 U.S. 646 (1983) ............................................................................................... 13

Richardson v. Marsh, 481 U.S. 200 (1987) ............................................................................ 2, 4, 6

Salman v. United States, 137 S.Ct. 420 (2017) ............................................................................ 13

United States v. Alvarado, 882 F.2d 645 (2d Cir.1989) ................................................................. 5

United States v. Attenasio, 870 F.2d 809 (2d Cir. 1989) ................................................................ 4

United States v. Barrow, 400 F.3d 109 (2d Cir. 2005) ................................................................. 11

United States v. Benitez, 920 F.2d 1080, 1087 (2d Cir. 1990) ....................................................... 6

United States v. Bin Laden, 109 F. Supp. 2d 211 (S.D.N.Y. 2000)................................................ 4

United States v. Bonventre, 646 F. App’x 73 (2d Cir. 2016) ......................................................... 8

United States v. Cardascia, 951 F.2d 474 (2d Cir. 1991) .............................................................. 3

United States v. Carson, 702 F.2d 351 (2d Cir. 1983) ................................................................... 4

United States v. Casamento, 887 F.2d 1141 (2d Cir. 1989) ........................................................... 3

United States v. Castro, 813 F.2d 571 (2d Cir.1987) ..................................................................... 5

United States v. Freyer, 333 F.3d 110 (2d Cir. 2003) .................................................................... 4

United States v. Jass, 569 F.3d 47 (2d Cir. 2009) ...................................................................... 6, 7

United States v. Jimenez, 824 F. Supp. 351 (S.D.N.Y. 1993) ........................................................ 3

United States v. Kyles, 40 F.3d 519 (2d Cir. 1994) ........................................................................ 6

United States v. Lasanta, 978 F.2d 1300 (2d Cir. 1992) ............................................................ 3, 4

United States v. Losada, 674 F.2d 167 (2d Cir. 1982) ................................................................... 4

United States v. Lyles, 593 F.2d 182 (2d Cir. 1979) ....................................................................... 4

United States v. Panza, 750 F.2d 114 (2d Cir. 1984) ..................................................................... 3

                                                                 ii
United States v. Potamitis, 739 F.2d 784 (2d Cir. 1984) ................................................................ 4

United States v. Rivera, 2015 WL 1725991 (E.D.N.Y. Apr. 15, 2015) ....................................... 11

United States v. Rosa, 11 F.3d 315 (2d Cir. 1993) ......................................................................... 3

United States v. Rosemond, 841 F.3d 95 (2d Cir. 2016) .............................................................. 11

United States v. Salameh, 152 F.3d 88 (2d Cir. 1998) ................................................................... 4

United States v. Saneaux, 365 F. Supp. 2d 493 (S.D.N.Y. 2005)................................................. 12

United States v. Stewart, 15 Cr. 287 (LTS) .................................................................................. 13

United States v. Taylor, 745 F.3d 15 (2d Cir. 2014) .................................................................. 6, 7

United States v. Tutino, 883 F.2d 1125 (2d Cir. 1989) ................................................................... 6

United States v. Walters, 16 Cr. 338 (PKC) ................................................................................. 13

United States v. Williams, 936 F.2d 698 (2d Cir. 1991) ............................................................. 6, 7

United States v. Yousef, 327 F.3d 56 (2d Cir. 2003) .................................................................. 5, 6

United States v. Zackson, 6 F.3d 911 (2d Cir. 1993) ...................................................................... 4

Zafiro v. United States, 506 U.S. 534 (1993) ......................................................................... 2, 3, 4




                                                              iii
       The Government respectfully submits this memorandum of law in opposition to (a)

defendant David Blaszczak’s eleventh-hour motion to sever (Dkt. 164); (b) defendant Christopher

Worrall’s premature motion regarding the admissibility of the inculpatory statements he made to

the Government pursuant to a proffer agreement (Dkt. 158); and (c) defendant Robert Olan’s

motion to preclude the Government from addressing what the evidence will show and why that

conduct is prohibited by law. (Dkt. 161). Each one of these motions should be denied.

                                             POINT I

          THE COURT SHOULD DENY BLASZCAK’S SEVERANCE MOTION

        A.     Background

       On February 9, 2018, the Government produced to each defendant — including Blaszczak

— a copy of the FBI 302s reflecting (a) the unprotected statements that Worrall made when he

was first approached by the FBI in September 2015, and (b) the statements that Worrall made in

two subsequent meetings with the Government — pursuant to a standard proffer agreement. 1

       Approximately five weeks later, on March 16, 2018, Blaszczak’s counsel first attempted

to engage with the Government on potential redactions to these FBI 302s to “Brutonize” them.

Specifically, Blaszczak highlighted various sentences in each of the FBI 302s and suggested that

these sentences be redacted in their entirety.

       On March 21, 2018, the Government responded to Blaszczak’s counsel to advise them

that, although the Government had not yet determined which statements it intends to introduce at

trial, it nonetheless had attempted to anonymize — consistent with the law in this Circuit — any




1       The Government had previously produced copies of these 302s to Worrall in June 2017,
shortly after the original Indictment in this case issued, as part of its Rule 16 discovery.
                                                 1
statement in the FBI 302s that could potentially present a Bruton issue. The Government provided

a copy of its draft anonymized statements Blaszczak’s counsel. The Government invited defense

counsel to make suggested edits, or to call the Government to discuss other potential solutions in

advance of trial, so as to avoid unnecessary motion practice.

       On March 22, 2018, Blaszczak’s counsel emailed the Government and indicated that they

would not be suggesting edits but would instead be filing a motion for severance. The instant

motion — filed four days before jury selection — followed later that day.

        B.      Applicable Law

       The Supreme Court has made plain that there is a “preference in the federal system for joint

trials of defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1993).

This preference reflects a settled precept in criminal law: joint trials “play a vital role in the

criminal justice system.” Richardson v. Marsh, 481 U.S. 200, 209 (1987). They promote

efficiency and “serve the interests of justice by avoiding the scandal and inequity of inconsistent

verdicts.” Id. at 210; Zafiro, 506 U.S. at 537. Joint trials of defendants indicted together also serve

to “conserve prosecutorial resources, diminish inconvenience to witnesses, and avoid delays in the

administration of criminal justice.” Richardson, 481 U.S. at 217 (1987) (Stevens, J., dissenting).

The Richardson Court explained:

          It would impair both the efficiency and the fairness of the criminal justice
          system to require . . . that prosecutors bring separate proceedings,
          presenting the same evidence again and again, requiring victims and
          witnesses to repeat the inconvenience (and sometimes trauma) of
          testifying, and randomly favoring the last-tried defendants who have the
          advantage of knowing the prosecution's case beforehand. Joint trials
          generally serve the interests of justice by avoiding inconsistent verdicts
          and enabling more accurate assessment of relative culpability —
          advantages which sometimes operate to the defendant=s benefit.




                                                  2
Id. at 210 (footnote omitted). Thus, even where joint trials invite some prejudice to defendants,

“[t]he risks of prejudice attendant in a joint trial are presumptively outweighed by the conservation

of time, money, and scarce judicial resources that a joint trial permits.” United States v. Jimenez,

824 F. Supp. 351, 366 (S.D.N.Y. 1993).

       The presumption in favor of joint trials is so strong that the Second Circuit has stated that

“[t]he principles that guide the district court’s consideration of a motion for severance usually

counsel denial.” United States v. Rosa, 11 F.3d 315, 341 (2d Cir. 1993). Indeed, “[t]he decision

whether to sever multi-defendant trials is committed to the sound discretion of the trial court and

is ‘virtually unreviewable.’” United States v. Lasanta, 978 F.2d 1300, 1306 (2d Cir. 1992)

(abrogated on other grounds) (quoting United States v. Cardascia, 951 F.2d 474, 482 (2d Cir.

1991)). A defendant seeking severance therefore shoulders the “extremely difficult burden” of

showing that he would be so prejudiced by joinder that he would be denied a fair trial. United

States v. Casamento, 887 F.2d 1141, 1149 (2d Cir. 1989) (internal quotation marks omitted). It is

not enough for a defendant to show that he “may have a better chance of acquittal in [a] separate

trial[].” Zafiro, 506 U.S. at 540.

       “[A] district court should grant a severance under Rule 14 only if there is a serious risk that

a joint trial would compromise a specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence.” Id. at 539; see also United States v.

Panza, 750 F.2d 1141, 1149 (2d Cir. 1984) (explaining that prejudice must be “sufficiently severe

to outweigh the judicial economy that would be realized by avoiding lengthy multiple trials”).

Even in those rare instances where a defendant establishes a “high” risk of prejudice, “less drastic

measures, such as limiting instructions, often will suffice to cure any risk of prejudice.” Zafiro,




                                                 3
506 U.S. at 539 (citing Richardson, 481 U.S. at 211); see also United States v. Freyer, 333 F.3d

110, 114 (2d Cir. 2003).

       The presumption in favor of joint trials “is particularly strong where, as here, the

defendants are alleged to have participated in a common plan or scheme.” United States v.

Salameh, 152 F.3d 88, 115 (2d Cir. 1998). See also Freyer, 333 F.3d at 114 (holding that joinder

of defendants is “proper when the alleged acts are ‘unified by some substantial identity of facts or

participants and a common plan.’” (quoting United States v. Attenasio, 870 F.2d 809, 815 (2d Cir.

1989))); United States v. Bin Laden, 109 F. Supp. 2d 211, 214 (S.D.N.Y. 2000) (“When more than

one defendant is accused of participating in the same act or transaction or series of acts or

transactions, federal law expresses a strong preference for a single, joint trial of all defendants.”)

       Even where evidence is admissible against only one defendant in a multi-defendant case,

severance is not typically granted. The Second Circuit has repeatedly recognized that “the fact

that evidence may be admissible against one defendant but not against another does not necessarily

require a severance.” United States v. Carson, 702 F.2d 351, 367 (2d Cir. 1983); see also United

States v. Losada, 674 F.2d 167, 171 (2d Cir. 1982); United States v. Lyles, 593 F.2d 182, 190 (2d

Cir. 1979). Any spillover prejudice that may occur is generally corrected by the Court’s instruction

that the jury consider the guilt of each defendant individually — an instruction that jurors are

presumed to be able to follow. United States v. Potamitis, 739 F.2d 784, 790 (2d Cir. 1984); see

also Lasanta, 978 F.2d at 1307 (2d Cir. 1992) (“[t]he district court countered any possible spillover

with specific instructions to the jury . . . that the jury should consider the evidence separately

against each defendant”); United States v. Zackson, 6 F.3d 911, 922 (2d Cir. 1993).

       With respect to Bruton concerns, in particular, the Second Circuit has found that

“various remedies short of severance are available to the district court, including, inter



                                                  4
alia, issuing limiting instructions to the jury, empaneling separate juries, or redacting out-of-

court statements that refer to a codefendant by name,” instructing that “such redactions are

permissible so long as the redaction does not distort the statements' meaning, exclude

substantially exculpatory information, or change ‘the tenor of the utterance as a whole.’” United

States v. Yousef, 327 F.3d 56, 150 (2d Cir. 2003) (citing United States v. Alvarado, 882 F.2d

645, 651 (2d Cir.1989) (internal quotation marks and citation omitted), overruled on other

grounds, Bailey v. United States, 516 U.S. 137, 116 S.Ct. 501, 133 L.Ed.2d 472 (1995); see

also United States v. Castro, 813 F.2d 571, 576 (2d Cir.1987)).

        C.     Discussion

               1.      Worrall’s Statements Will Be Properly Redacted

       Contrary to the hyperbolic concerns catalogued in Blaszczak’s motion, severance is not

warranted here under either Crawford or Bruton. Worrall’s statements are admissible against

Worrall as a party admission. Fed. R. Evid. 801(d)(2). To the extent they implicate Blaszczak,

the Government agrees that the Confrontation Clause is implicated because they are testimonial in

nature. But contrary to Blaszczak’s claim, this does not present an incurable Bruton problem.

Indeed, the whole point of Bruton is to anonymize the statements so as to protect the defednats’

rights while allowing the Government to prove its case. This process is routinely accomplished in

this District and across the country. Rather than engage constructively on how to “Brutonize” the

statements, however, counsel for Blaszczak have thrown up their hands and demanded severance.

This is not the law.

       As the Government has suggested, Worrall’s statements can be redacted to eliminate the

use of Blaszczak’s name — a practice that is commonplace in this District and has been upheld,

repeatedly, by the Second Circuit. See, e.g., United States v. Tutino, 883 F.2d 1125, 1135 (2d Cir.



                                                  5
1989) (approving substitution of neutral words “others,” “other people,” and “another person” for

names of co-defendants in confession of non-testifying defendant); Yousef, 327 F.3d at 149

(upholding redaction of co-defendant's name to “my neighbor”); United States v. Kyles, 40 F.3d

519, 526 (2d Cir. 1994) (upholding redaction of co-defendant’s name to “he”); United States v.

Williams, 936 F.2d 698, 701 (2d Cir. 1991) (upholding redaction of co-defendant’s name to “this

guy”); United States v. Benitez, 920 F.2d 1080, 1087 (2d Cir. 1990) (upholding redaction of co-

defendant’s name to “friend”).

       The Second Circuit reaffirmed this line of cases and this practice in United States v. Jass,

569 F.3d 47, 61 (2d Cir. 2009). There, the Circuit affirmed the admission of a co-defendant’s

post-arrest confession where the district court instructed the jury not to use the confession in any

way against defendant, and the confession was redacted in a way that permitted the jury to follow

the limiting jury instruction. Id. at 63-64. Specifically, the defendant’s name was redacted from

his co-defendant’s confession, and the jury would have had to refer to other trial evidence to link

the defendant to the redacted confession. The Second Circuit instructed that:

       while redaction may not cure all Bruton issues, the “critical inquiry is, thus,
       not whether a jury might infer from other facts (whether evidence admitted
       at trial or circumstances such as the number of defendants on trial) that a
       declarant's neutral allusion to a confederate might have referenced the
       defendant. It is whether the neutral allusion sufficiently conceals the fact
       of explicit identification to eliminate the overwhelming probability that a
       jury hearing the confession at a joint trial will not be able to follow an
       appropriate limiting instruction.

Id. at 60 (citing Richardson v. Marsh, 481 U.S. 200, 208 (1987)).

       The Circuit recently reinforced this guidance, and provided additional instruction on an

issue left open by Jass, in United States v. Taylor, 745 F.3d 15, 28–30 (2d Cir. 2014). There, the

Circuit rejected redactions that strongly suggested that the original statement contained an actual

name (such as the name of the defendant). Id. at 28. For example, the admitted statements used

                                                 6
the name of the cooperator throughout, awkwardly conjoined with reference to persons who went

unnamed. Id. The Court found that if the declarant “had been trying to avoid naming his

confederates, he would not have identified one of them . . . in the very phrase in which the names

of the other confederates are omitted.” Id. at 29. Moreover, the Court expressed concern that the

wording of the statement suffered “from stilted circumlocutions,” and instructed that although

“Jass does not require the most natural and colloquial rendering of how a drug thief would have

shielded the identity of his confederates . . . the awkward circumlocution used to reference other

participants, coupled with the overt naming of [the cooperator] (only), is so unnatural, suggestive,

and conspicuous as to offend Bruton, Gray, and Jass.” Id. at 30.

       Following the test laid out in Jass and Taylor, the Court here will have to review Worrall’s

redacted statements that the Government seeks to offer to (i) to confirm that they do not

“indicat[es] to the jury that the original statement contained actual names”; and (2) to determine

“whether the redacted confession, even if ‘the very first item introduced at trial’ would

‘immediately’ inculpate [Blaszczak] in the charged crime.” Taylor, 745 F.3d. at 28; accord Jass,

569 F.3d at 61; see also United States v. Williams, 936 F.2d at 700-01 (considering redacted

confession “in isolation from the other evidence introduced at trial” to assess whether it

incriminates defendant). To the extent the Court believes additional redactions or replacements

beyond those proposed by the Government are required, it obviously has the power to order

additional modifications.

       Contrary to Blaszczak’s claim, the mechanics of this testimony during trial present no

impediment to admissibility. Indeed, every case featuring “Brutonized” statements raises some of

the issues articulated by the defense. But these concerns are routinely met through careful

consultation among the parties and the involvement of the District Court. Consistent with the law



                                                 7
in this area, the testifying agent will be able to omit any mention of Blaszczak’s name from the

statements made by Worrall. When necessary, the agent will use neutral pronouns and/or

substitutions approved by the Court that will in no way allow the jury to infer that the statement

contained names (much less the names of Worrall’s co-defendants). These routine concerns in no

way compel severance. See, e.g., United States v. Bonventre, 646 F. App’x 73, 81 (2d Cir. 2016)

(rejecting defendant’s Bruton-based challenge to the district court’s refusal to grant severance as

meritless, where the statement at issue was modified consistent with Bruton and its progeny and a

proper limiting instruction was given; finding it “irrelevant that other trial evidence implicated [the

appellant] in [the declarant’s] conduct”).

       Finally, while the Government respectfully submits that the Court can and should deny

severance now in anticipation of jury selection beginning Monday, the Government submits that

the issue of how exactly to “Brutonize” each statement at issue may more properly be taken up

after the defendants’ opening statements. The Government will be in a better position at that time

to determine which of the many Worrall statements it intends to introduce. This may avoid Bruton

litigation over statement that the Government ultimately declines to use at trial. This would also

alleviate Blaszczak’s unfounded concerns that the Government will admit other statements that

call into question the validity of any Government redactions.

               Accordingly, the Government respectfully submits that the most productive path

forward is for the Government, following defendant Worrall’s opening, to provide defense counsel

and the Court with a list of the statements it intends to introduce at trial, along with its proposed




                                                  8
                                2
redactions and substitutions.       The Government will then offer those statements with any

modifications the Court finds necessary. If the Court ultimately finds that the statements cannot

be offered, the Government will not offer them. Either way, Blaszczak’s last-ditch attempt at

severance on this basis is not only unnecessary but inappropriate — just as it was the other times

he attempted it.

               2.      Blaszczak Does Not Need Additional Time to Prepare for Trial

       Blaszczak contends (yet again) that he is the only defendant that cannot be prepared for

trial on April 2. Like the other defendants in this matter, however, Blaszczak has long had notice

of the charges and evidence against him, and the advancement of the trial date by one week does

not alter his ability to defend himself. As noted below, the Government produced the 3500 material

and exhibits well in advance of trial, now estimates a shorter case in chief, and has also agreed to

provide the defense with notice of its anticipated witness order during the trial. Accordingly, no

adjournment is necessary.

       First, the defendant again complains that the Superseding Indictment filed on March 5,

2018 warrants an adjournment. The Court denied this precise argument at the March 9 court

conference, for good reason — the defendants were on notice that evidence of their participation

in the charged conspiracies during the expanded date range would likely have been admissible as

Rule 404(b) evidence, the Government had produced all the underlying discovery for the expanded

date range in the Superseding Indictment months in advance, and the underlying charges remained

unchanged. (See Mar. 9, 2018 Tr. 43-44).




2
  If, of course, the Court would prefer to review a list of the statements the Government may
introduce at trial and the proposed redactions and/or substitutions in advance of trial, the
Government will provide that list promptly.
                                                 9
       At the March 9 court conference, the Government estimated that the trial would last

approximately one month. The Government has since streamlined its case-in-chief and now

estimates that its case will last two to three weeks, as the Government noted during the phone

conference with the Court on March 13.

       After the Court advanced the trial date by one week, the Government immediately

produced on March 13 the bulk of its 3500 materials and exhibits. The defendant received these

materials 19 days before trial, providing ample time to prepare for the cross-examination of the

Government’s witnesses. As is typical in any case, the Government continues to produce 3500

and discovery materials to the defendants, but the volume of these materials is not significant,

consisting mostly of notes of witness preparation sessions that took place after March 13 and

documents the Government received from Deerfield on the same day it was produced to defendants

(a production of less than 600 documents). Given that Blaszczak has four attorneys representing

him, he has significant resources at his disposal for the efficient and timely review of these

materials.

       Finally, the defendant notes that the Government lists 24 fact witnesses on its witness list

as a reason for an adjournment. The Government’s list was intentionally comprehensive to put the

defendant on notice of all the potential witnesses against him. As the Government informed the

defendant by email on March 16, the Government plans to finalize this list before trial (likely

reducing the number of witnesses), and the Government still anticipates that its case in chief will

last two to three weeks. The Government also informed defense counsel that it will provide its

initial anticipated witness order closer to the beginning of trial. Thus, the defendant’s concerns

about the length of the trial are overblown and his case should not be severed.




                                                10
                                              POINT II

                 WORRALL’S MOTION REGARDING HIS STATEMENTS
                         AT PROFFERS IS PREMATURE

        Worrall raises concerns about the protocol the Court will follow with respect to the

admission of statements that Worrall made to the Government pursuant to a proffer agreement.

The Government has already, of course, advised Worrall that it believes it will ultimately be for

the Court to decide whether or not he has opened the door to the admission of those statements.

Whether a proffer-protected statement can be admitted is a fact-intensive determination that must

be undertaken on a statement-by-statement basis. United States v. Rosemond, 841 F.3d 95, 109

(2d Cir. 2016). Accordingly, the Government submits now (as it did during conversations with

defense counsel) that, if it intends to offer a statement Worrall made during a proffer in response

to a factual assertion or argument that his counsel makes at trial, the Government will first ask the

Court to determine if the proffered statement presents an inconsistency that would properly allow

for its admission under the terms of the agreement. United States v. Rivera, 2015 WL 1725991, at

*3 (E.D.N.Y. Apr. 15, 2015).

        Take, for instance the example in the defendant’s brief: if Worrall makes the factual

assertion or argues, in his opening or at another point during trial, that he did not provide Blaszczak

with two February slide decks or the specific rule information, the Government agrees that it would

then provide to the Court a list of the statements that it believes “fairly rebut[s] the fact asserted or

evidence offered or elicited.” Rosemond, 841 F. 3d at 107 (internal quotations and citations

omitted). This is standard practice. Understandably, the law dictates that “[r]ebuttal is ‘necessarily

a flexible concept’ and not ‘limited to evidence that directly contradicts what it opposes; rather,

rebuttal encompasses any evidence that the trial judge concludes fairly counters and casts doubt

on the truthfulness of factual assertions advanced, whether directly or implicitly, by an adversary.”

                                                   11
Id. (citing United States v. Barrow, 400 F.3d 109, 121 (2d Cir. 2005)). As such, once the nuances

of the defendant’s argument or factual assertion are determined, the Government will present the

Court with the statements it believes counters or casts doubt on defendant’s assertion or argument,

and the Court can determine whether the Government may properly offer the statement.

       Bizarrely, Worrall suggests that the Court would have to hold a full-blown evidentiary

hearing with live testimony to determine whether Worrall actually made the statements contained

in the 302s. Worrall cites no authority for this novel suggestion. Such a hearing is not only

unnecessary, it would be a fruitless exercise, as the 302s themselves meet the preponderance

standard the Court would apply in its role as gatekeeper. See, e.g., Fed. R. Evid. 104(a);

Bourjaily v. United States, 483 U.S. 171, 175 (1987) (“We are therefore guided by our prior

decisions regarding admissibility determinations that hinge on preliminary factual questions. We

have traditionally required that these matters be established by a preponderance of proof.”);

United States v. Saneaux, 365 F. Supp. 2d 493 (S.D.N.Y. 2005) (same). To the extent Worrall

wants to challenge an agent’s recollection about what Worrall said, he may do so through cross-

examination or by offering admissible evidence of his own.

                                            POINT III

  OLAN’S MOTION TO BAR THE GOVERNMENT FROM PROPERLY ASSERTING
   THE STOCK MARKET SHOULD BE “A LEVEL PLAYING FIELD” SHOULD BE
                             DENIED

       Robert Olan has moved in limine to preclude the Government from “arguing at trial

(including in opening or closing statements” that the stock market is ‘supposed to be a level playing

field’” and that “those charged with insider trading are guilty simply if they have an ‘unfair

advantage’ over others in the market.” (Dkt. 161 at 1).




                                                 12
       As is clear from the opening statements that Olan cites in his papers, the Government

routinely — and properly — asserts that when a defendant illegally obtains material, non-public

information, that he or she is gaining an illegal and unfair advantage prohibited by the federal

securities laws. See, e.g., United States v. Walters, 16 Cr. 338 (PKC) (Ex. B to Esseks Decl.)

(“[Insider trading is] [a] way for people who have inside information to give each other that

edge, that illegal edge that the rest of the public never gets.” (emphasis added)); United States v.

Stewart, 15 Cr. 287 (LTS) (Ex. A to Esseks Decl.) (“We’re here because [the stock market] is

supposed to be a level playing field. We’re to hold those that cheat, that break the law

accountable.” (emphasis added)). The Government did not state in Walters and in Stewart, or in

any other insider trading case “[i]n recent years,” that it is illegal for there to be an information

disparity in the market. Any attempt by Olan to suggest otherwise ignores the contact of those

statements and must fail.

       The Government’s statements adhered to the well-settled law that that it is illegal to trade

on material, non-public information obtained in breach of a duty. See, e.g., Salman v. United

States, 137 S.Ct. 420, 423 (2017) (“The tippee acquires the tipper’s duty to disclose or abstain

from trading if the tippee knows the information was disclosed in breach of the tipper’s duty, and

the tippee may commit securities fraud by trading in disregard of that knowledge.”); Dirks v.

SEC, 463 U.S. 646, 661 (1983) (“In determining whether a tippee is under an obligation to

disclose or abstain, it this is necessary to determine whether the insider’s ‘tip’ constituted a

breach of the insider’s fiduciary duty.”). That is what the Government intends to do at this trial,

and that is what the Government expects the Court will instruct the jury. Accordingly, Olan’s

motion should be denied.




                                                  13
                                        CONCLUSION

       For the foregoing reasons, the Government respectfully submits that the Court should

deny the defendants’ motions in their entirety.


Dated: New York, New York                              Respectfully submitted,
       March 23, 2018
                                                       ROBERT KHUZAMI
                                                       Acting United States Attorney


                                             By:       /S/_______________________
                                                       Ian McGinley
                                                       Joshua A. Naftalis
                                                       Brooke E. Cucinella
                                                       Assistant United States Attorneys
                                                       Tel.: (212) 637-2257/2477/2310




                                                  14
